               Case 22-11475-mdc                  Doc 6      Filed 06/06/22 Entered 06/06/22 23:07:48                               Desc Main
                                                             Document      Page 1 of 2
 Fill in this information to identify your case:

 Debtor               Dennis Hollins
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


                                         Eastern District
 United States Bankruptcy Court for the: __________       ofofPennsylvania
                                                    District   ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      Citizens Bank
      _____________________________________________________________________             vehicle
      Name

      _____________________________________________________________________
      Number     Street
      Phil                      PA         19101
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
            Case 22-11475-mdc                  Doc 6         Filed 06/06/22 Entered 06/06/22 23:07:48                    Desc Main
                                                             Document      Page 2 of 2
 Debtor 1     Dennis  Hollins
               _______________________________________________________                  Case number (if known)_____________________________________
               First Name   Middle Name          Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                   What the contract or lease is for

    2
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code

            Print                         Save As...             Add Attachment                                                   Reset
Official Form 106G                           Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
